                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE

  KIMBERLY ROBINSON,                            )
                                                )
                Petitioner,                     )
  v.                                            )      Nos.: 3:17-cv-341-TAV-HBG
                                                )            3:13-cr-71-TAV-HBG-6
  UNITED STATES OF AMERICA,                     )
                                                )
                Respondent.                     )


                                    JUDGMENT ORDER

         For the reasons set forth in the accompanying opinion, it hereby is ORDERED and

  ADJUDGED that petitioner’s § 2255 motion [Doc. 1, 3:17-cv-341; Doc. 342, No. 3:13-

  cr-71] is DENIED, and this action is DISMISSED.

         Should petitioner give timely notice of an appeal from this order, such notice will

  be treated as an application for a certificate of appealability, which is hereby DENIED

  because she has failed to make a substantial showing of the denial of a constitutional right.

  See 28 U.S.C. § 2253(c)(2); Fed. R. App. P. 22(b); Slack v. McDaniel, 529 U.S. 473, 484

  (2000). Additionally, the Court has reviewed this case in accordance with Rule 24 of the

  Federal Rules of Appellate Procedure and hereby CERTIFIES that any appeal from this

  action would not be taken in good faith and would be totally frivolous. Therefore, any

  application by petitioner for leave to proceed in forma pauperis on appeal is DENIED. See

  Fed. R. App. P. 24.




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        The Clerk is DIRECTED to close civil case number 3:17-cv-341.

        IT IS SO ORDERED.


                                 s/ Thomas A. Varlan
                                 UNITED STATES DISTRICT JUDGE


   ENTERED AS A JUDGMENT

       s/ John L. Medearis
       CLERK OF COURT




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